                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                          GREENEVILLE

       THE PRUDENTIAL INSURANCE COMPANY                              )
       OF AMERICA,                                                   )
                                                                     )
       VS.                                                           )      Case No: 2:11-CV-55
                                                                     )
       JOANNE J. CRAIG, BARBARA PARR-LOPEZ,                          )
       and SNYDER’S MEMORIAL GARDENS, INC.,                          )


          JOINT MOTION FOR THE COURT TO APPROVE SETTLEMENT


              COME NOW the parties , Joanne Craig and Barbara Parr-Lopez, by and through counsel

       to announce that they have settled all issues in dispute and to request that this Court approve their

       settlement agreement. The parties would further show that the principal sum of $99,375.59 was

       paid into the registry of the Court by the Prudential Insurance Company of America. Further, that

       since being deposited into the registry of the Court the funds have earned interest of $50.92, such

       that there is now a total of $99,426.51 being held. The parties agree that the claim filed by Snyder

       Memorial Gardens in the amount of $1603.13 should first be paid by the clerk directly to Snyder

       Memorial Gardens.

              That after said payment there would remain in the account $97,823.38. The parties further

       agree that the clerk shall be paid the clerk’s registry fee in the amount of $5.10 leaving a balance

       of $97,818.28. The parties will then divide said amount with Barbara Parr-Lopez receiving 60%

       of said amount for a total of $58,690.97 and Joanne Craig receiving 40% of said amount for a total

       of $39,127.31.

              The parties further agree that the funds will be tendered in the form of checks written to

       the firm representing each party respectively and that the firm will provide their respective Federal

       Tax Identification Numbers and the Social Security Number of their respective clients to the clerk.




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              The parties further agree that each party will be responsible for their own costs and

       attorney’s fees.

              WHEREFORE, the parties move that the Court consider these requests and direct

       payments as agreed upon by the parties.



          /s/ Daniel C. Headrick
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                                       CERTIFICATE OF SERVICE

               I certify that on August ______, 2012, a copy of the foregoing was filed electronically.
       Notice of this filing will be sent by operation of the Court’s electronic filing system to all
       parties indicated on the electronic filing receipt. All other parties will be served by regular
       U.S. Mail. Parties may access this filing through the Court’s Electronic filing system.

                                                           /s/ Brent Hensley
                                                           Brent Hensley (BPR#022841)




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